                                                     Case 20-11259-JTD                                        Doc 1                 Filed 05/26/20                        Page 1 of 17



 Fill in this information to identify your case:



 United States Bankruptcy Court for the:


 DISTRICT OF DELAWARE


 Case number (if known)                                                                                                   Chapter              11

                                                                                                                                                                                                       Check if this an amended filing




Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                    02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for
Non-Individuals, is available.




 1.      Debtor's name                               Advantage Holdco, Inc.



 2.      All other names debtor used in the last 8
         years
                                                      N/A
         Include any assumed names, trade names
         and doing business as names



 3.      Debtor's federal Employer Identification    XX-XXXXXXX
         Number (EIN)




 4.      Debtor's address                            Principal place of business                                                                            Mailing address, if different from principal place of business


                                                     2003 McCoy Road
                                                     Orlando, Florida 32809
                                                     Number, Street, City, State & ZIP Code                                                                 P.O. Box, Number, Street, City, State & ZIP Code


                                                     Orange County                                                                                          Location of principal assets, if different from principal place of business

                                                     County


                                                                                                                                                            Number, Street, City, State & ZIP Code




 5.      Debtor's website (URL)                      www.advantage.com



 6.      Type of debtor                                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))


                                                              Partnership (excluding LLP)


                                                              Other. Specify:




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                                                              Case 20-11259-JTD                                       Doc 1                 Filed 05/26/20                        Page 2 of 17
 Debtor             Advantage Holdco, Inc.                                                                                                                                  Case number (if known)

                    Name




 7.       Describe debtor's business                           A. Check one:

                                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                                      Railroad (as defined in 11 U.S.C. § 101(44))

                                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                                      Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                                                      None of the above



                                                               B. Check all that apply

                                                                     Tax-exempt entity (as described in 26 U.S.C. §501)

                                                                      Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

                                                                      Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))



                                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                                    See http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                                       5321


 8.       Under which chapter of the Bankruptcy                Check one:
          Code is the debtor filing?
                                                                      Chapter 7

                                                                      Chapter 9

                                                                      Chapter 11. Check all that apply:

                                                                                                          Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                                                          4/01/22 and every 3 years after that).

                                                                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small business debtor, attach the most recent balance sheet,
                                                                                                          statement of operations, cash-flow statement, and federal income tax return or if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                                                          1116(1)(B).

                                                                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to proceed under Subchapter V of Chapter 11.

                                                                                                          A plan is being filed with this petition.

                                                                                                          Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                                                          Securities Exchange Act of 1934. File the attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                                                          with this form.

                                                                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                                      Chapter 12




 9.       Were prior bankruptcy cases filed by or                    No.
          against the debtor within the last 8 years?
                                                                     Yes

          If more than 2 cases, attach a separate list.                       District                                                            When                                               Case number

                                                                              District                                                            When                                               Case number



 10.      Are any bankruptcy cases pending or being                  No
          filed by a business partner or an affiliate of
          the debtor?                                                Yes

          List all cases. If more than 1, attach a separate
          list                                                                Debtor         See Rider 1                                                                                        Relationship                              Affiliate

                                                                              District                                                            When                                          Case number, if known




Official Form 201                                                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   page 2
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                                                            Case 20-11259-JTD                                        Doc 1                Filed 05/26/20                              Page 3 of 17
 Debtor             Advantage Holdco, Inc.                                                                                                                                     Case number (if known)

                    Name




 11.      Why is the case filed in this district?       Check all that apply:

                                                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately preceding the date of this petition or for a longer part of such 180 days
                                                                      than in any other district.

                                                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



 12.                                                             No
          Does the debtor own or have
                                                                 Yes        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          possession of any real property or
          personal property that needs immediate
          attention?                                                        Why does the property need immediate attention? (Check all that apply.)

                                                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                                                 What is the hazard?


                                                                                   It needs to be physically secured or protected from the weather.


                                                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                                 securities-related assets or other options).

                                                                                   Other

                                                                            Where is the property?

                                                                                                                                 Number, Street, City, State & ZIP Code

                                                                            Is the property insured?

                                                                                   No


                                                                                   Yes

                                                                                              Insurance agency

                                                                                              Contact name

                                                                                              Phone




                    Statistical and administrative information


 13.      Debtor's estimation of available funds        .                Check one:

                                                                               Funds will be available for distribution to unsecured creditors.


                                                                               After any administrative expenses are paid, no funds will be available to unsecured creditors.



 14.      Estimated number of creditors (on a                    1-49                                                                         1,000-5,000                                                          25,001-50,000
          consolidated basis)
                                                                 50-99                                                                        5001-10,000                                                          50,001-100,000

                                                                 100-199                                                                      10,001-25,000                                                        More than 100,000

                                                                 200-999



 15.      Estimated Assets (on a consolidated                    $0 - $50,000                                                                 $1,000,001 - $10 million                                             $500,000,001 - $1 billion
          basis)
                                                                 $50,001 - $100,000                                                           $10,000,001 - $50 million                                            $1,000,000,001 - $10 billion

                                                                 $100,001 - $500,000                                                          $50,000,001 - $100 million                                           $10,000,000,001 - $50 billion

                                                                 $500,001 - $1 million                                                        $100,000,001 - $500 million                                          More than $50 billion



 16.      Estimated liabilities (on a consolidated               $0 - $50,000                                                                 $1,000,001 - $10 million                                             $500,000,001 - $1 billion
          basis)
                                                                  $50,001 - $100,000                                                          $10,000,001 - $50 million                                            $1,000,000,001 - $10 billion

                                                                 $100,001 - $500,000                                                          $50,000,001 - $100 million                                           $10,000,000,001 - $50 billion

                                                                 $500,001 - $1 million                                                        $100,000,001 - $500 million                                          More than $50 billion




Official Form 201                                                                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                     page 3
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                                             RIDER 1

    PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion will be filed with the Court
requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

 Entity Name                                        Federal Employer Identification Number
                                                    (EIN)
 Advantage Holdco, Inc.                             XX-XXXXXXX
 Advantage Opco, LLC                                XX-XXXXXXX
 Advantage Vehicles LLC                             XX-XXXXXXX
 E-Z Rent A Car, LLC                                XX-XXXXXXX
 Central Florida Paint & Body, LLC                  XX-XXXXXXX
 Advantage Vehicle Financing LLC                    XX-XXXXXXX
 RAC Vehicle Financing, LLC                         XX-XXXXXXX
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          UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS
                                 OF
                        ADVANTAGE HOLDCO, INC.

                                           May 26, 2020

       The undersigned, being all of the members of the board of directors (the “Board”) of
Advantage Holdco, Inc. (the “Corporation”), a Delaware corporation, acting by written consent
without a meeting pursuant to Section 141(f) of the Delaware General Corporation Law, do hereby
consent to the adoption of, and do hereby adopt, the following resolutions:

Approval of Bankruptcy Filing

       WHEREAS, the Corporation is the sole and managing member of Advantage Opco, LLC,
a Delaware limited liability company (“Opco”);

        WHEREAS, Opco is the sole member of each of Advantage Vehicles, LLC, a Delaware
limited liability company (“Vehicles”), E-Z Rent A Car, LLC, a Delaware limited liability
company (“E-Z Rent A Car”), Central Florida Paint & Body, LLC, a Delaware limited liability
company (“Paint & Body”), and Advantage Vehicle Financing, LLC (“Financing,” and,
collectively with Vehicles, E-Z Rent A Car, and Paint & Body, the “Subsidiaries”);

         WHEREAS, the Board has reviewed and considered the materials presented by the
management and financial and legal advisors of the Corporation, Opco, and the Subsidiaries (each,
a “Company,” and collectively, the “Companies”) regarding the potential present and future
liabilities of the Companies, the strategic alternatives available to them, and the impact of the
foregoing on the Companies’ business;

       WHEREAS, the Board has consulted with the management and financial and legal
advisors of the Companies and has considered fully each of the strategic alternatives available to
the Companies;

        WHEREAS, the Board, on behalf of the Corporation and on behalf of the Corporation in
its capacity as sole and managing member of Opco, has determined that it is in the Companies’
best interests to commence a case (the “Chapter 11 Case”) under chapter 11 of title 11 of the
United States Code (“Chapter 11”); and

       NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, on behalf
of the Corporation and on behalf of the Corporation in its capacity as the sole and managing
member of Opco, it is desirable and in the best interests of the Companies, their creditors, interest
holders, and other interested parties, that the Companies seek relief under the provisions of Chapter
11; and it is further;

        RESOLVED, that any officer of the Corporation, including without limitation, the Chief
Restructuring Officer appointed hereunder (each, an “Authorized Person”), shall be, and hereby
is, authorized and directed on behalf of the Companies to commence a Chapter 11 Case by
executing, verifying and delivering a voluntary petition in the name of the Companies under


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Chapter 11 and causing the same to be filed with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) in such form and at such time as the Authorized
Person executing said petition shall determine, whether before or after completion of the
solicitation and the tabulation of votes on the Chapter 11 plan of reorganization; and it is further

       RESOLVED, that each Authorized Person shall be, and hereby is, authorized, directed
and empowered, on behalf of and in the name of the Companies, to take all actions necessary or
appropriate for the Companies to obtain post-petition financing according to the terms negotiated
by such Authorized Person, and to effectuate the foregoing, to enter into such loan agreements,
documents, notes, guaranties, security agreements, pledge agreements and all other documents,
agreements or instruments (collectively, the “Credit Documents”) as may be deemed necessary
or appropriate by the Authorized Person; and it is further

       RESOLVED, that the Companies be, and they hereby are, authorized, to the extent
applicable, to obtain the use of cash collateral, in such amounts and on such terms as may be agreed
by any Authorized Person, as is reasonably necessary for the continuing conduct of the affairs of
the Companies; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, authorized, directed and
empowered, with full power of delegation, on behalf of and in the name of the Companies, to
execute, verify and/or file, or cause to be filed and/or executed or verified (or direct others to do
so on their behalf as provided herein), and to amend, supplement or otherwise modify from time
to time, all necessary or appropriate documents, including, without limitation, petitions, affidavits,
schedules, motions, lists, applications, pleadings and other documents, agreements and papers,
including all Credit Documents, and to take any and all actions that the Authorized Person deems
necessary or appropriate, each in connection with the Chapter 11 Case, any post-petition financing
or any cash collateral usage contemplated hereby or thereby; and it is further

       RESOLVED, that to the extent not already authorized by prior resolution, each Authorized
Person be, and hereby is, authorized, directed and empowered, on behalf of and in the name of the
Companies, to employ and retain the law firm of Cole Schotz P.C. to act as attorneys for the
Companies in connection with the Chapter 11 Case; and it is further

       RESOLVED, that to the extent not already authorized by prior resolution, each Authorized
Person be, and hereby is, authorized, directed and empowered, on behalf of and in the name of the
Companies, to employ and retain Mackinac Partners, LLC (“Mackinac”) to supply a Chief
Restructuring Officer (“CRO”) and related services to the Companies, including certain additional
personnel to assist the CRO, in connection with the Chapter 11 Case; and it is further

       RESOLVED, that to the extent not already authorized by prior resolution, each Authorized
Person be, and hereby is, authorized, directed and empowered, on behalf of and in the name of the
Companies, to designate and appoint Matthew Pascucci, a Senior Managing Director of Mackinac,
to serve as an officer of the Companies in the position of CRO, with such obligations and
responsibilities deemed necessary and appropriate by the Board; and it is further

     RESOLVED, that each Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Companies, to employ and retain such further

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legal, restructuring, financial, accounting and bankruptcy services firms (together with the
foregoing identified firms, the “Professionals”) as may be deemed necessary or appropriate by the
Authorized Person to assist the Companies in carrying out its responsibilities in its Chapter 11
Case and achieving a successful reorganization; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, authorized, with full power
of delegation, in the name and on behalf of the Companies, to take or cause to be taken any and all
such further action and to execute and deliver or cause to be executed or delivered, and to amend,
supplement or otherwise modify from time to time, all such further agreements, documents,
certificates, statements, notices, undertakings and other writings, and to incur and to pay or direct
payment of all such fees and expenses, as in the judgment of the Authorized Person shall be
necessary, appropriate or advisable to effectuate the purpose and intent of any and all of the
foregoing resolutions; and it is further

       RESOLVED, that any and all actions, whether previously or subsequently taken by any
Authorized Person or any other person authorized to act by an Authorized Person, that are
consistent with the intent and purpose of the foregoing resolutions or in connection with any
matters referred to herein, shall be, and the same hereby are, in all respects, ratified, approved and
confirmed; and it is further

       RESOLVED, that the foregoing resolutions of the Board may be executed or approved in
one or more counterparts, including via facsimile or other electronic transmission (e.g., pdf or
consent via email), each of which shall be deemed an original for all purposes.


                           [Remainder of page intentionally left blank]




                                                  3
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


In re                                                                                                 Chapter 11

ADVANTAGE HOLDCO, INC., et al.,                                                                       Case No. 20-________ (___)

                                                      Debtors.1                                       (Joint Administration Requested)


                      CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                      AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                        BANKRUPTCY RULES 1007(a)(1), 1007(a)(3), AND 7007.1

            Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby

state as follows:

            1.           A list of Advantage Holdco, Inc.’s equity interest holders, their addresses, and the
                         nature of their equity interests is attached hereto as Exhibit A.

            2.           Advantage Holdco, Inc., whose address is 2003 McCoy Road, Orlando, Florida
                         32809, is the sole member of Debtors Advantage Opco, LLC and RAC Vehicle
                         Financing, LLC.

            3.           Advantage Opco, LLC, whose address is 2003 McCoy Road, Orlando, Florida
                         32809, is the sole member of Debtors:

                                       a) Advantage Vehicle Financing LLC;

                                       b) E-Z Rent A Car, LLC;

                                       c) Central Florida Paint & Body, LLC; and

                                       d) Advantage Vehicles LLC.

1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: Advantage Holdco, Inc. (4832); Advantage Opco,
LLC (9101); Advantage Vehicles LLC (6217); E-Z Rent A Car, LLC (2538); Central Florida Paint & Body, LLC (1183); Advantage Vehicle Financing LLC (7263); and RAC
Vehicle Financing, LLC (8375). The Debtors’ address is 2003 McCoy Road, Orlando, Florida 32809.




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                                                 EXHIBIT A



                                                                       Shares of
                                                                                     Common Share
            Name                            Address                    Common
                                                                                       Percentage
                                                                        Stock
                               181 Bay Street
                               Suite 4700, P.O. Box 792
Catalyst Fund Limited          Bay Wellington Tower
                                                                      17.647058824         33.33%
Partnership III                Brookfield Place
                               Toronto, Ontario
                               M5J 2T3
                               181 Bay Street
                               Suite 4700, P.O. Box 792
Catalyst Fund Limited          Bay Wellington Tower
                                                                      35.294117647         66.67%
Partnership IV                 Brookfield Place
                               Toronto, Ontario
                               M5J 2T3

Total                                                                 52.941176471       100.00%1




1
         Rounded Common Share Percentages may not total 100%.



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      Fill in this information to Identify the case:

      Debtor Name: Advantage Holdco, Inc., et al.
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                  amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       ABERDEEN STANDARD                   CONTACT: RAFAEL CASTRO LOAN                                                                                       $30,200,000.00
          INVESTMENTS, INC                    PHONE: 646-829-3607
          1735 MARKET STREET, 32ND FLOOR      RAFAEL.CASTRO@ABERDEEN
          PHILADELPHIA, PA 19103              STANDARD.COM
  2       HIGHWAY TOLL ADMINISTRATION,        CONTACT: BRENDAN ASHE           TRADE DEBT                                                                         $3,459,688.00
          LLC                                 PHONE: 516-307-3623
          66 POWERHOUSE RD STE 301            BRENDAN.ASHE@VERRAMO
          ROSLYN HEIGHTS, NY 11577            BILITY.COM
  3       PRICELINE.COM LLC                   CONTACT: BILL JOSE              TRADE DEBT                                                                         $1,934,410.00
          800 CONNECTICUT AVE                 PHONE: (203) 299-8077
          ATTN: BILL JOSE, SVP, RENTAL CARS   BILL.JOSE@PRICELINE.COM
          NORWALK, CT 06854
  4       R.P.S.                              CONTACT: ROBERT                 TRADE DEBT                                                                         $1,482,013.00
          901 DEEP VALLEY DRIVE UNIT 103      WETHERELL
          ROLLNG HILLS ESTATES, CA 90274      PHONE: 310-850-4051
                                              RWTHERS@GMAIL.COM
  5       SCOTTSDALE INSURANCE COMPANY        CONTACT: MICHEL        INSURANCE                                                                                   $1,012,841.00
          P.O. BOX 4120                       MARTINEZ
          SCOTTSDALE, AZ 85261-4120           PHONE: 713-358-5749
                                              MICHEL_MARTINEZ@AJG.CO
                                              M
  6       ELEMENT FLEET MANAGEMENT            CONTACT: JEFF IVERSON           TRADE DEBT                                                                           $821,542.00
          CORP.                               PHONE: 952-828-2548
          3 CAPITAL DRIVE                     JIVERSON@ELEMENTCORP.C
          EDEN PRAIRIE, MN 55344              OM
  7       AMADEUS IT GROUP SA                 CONTACT: SARA PUYOL             TRADE DEBT                                                                           $789,486.00
          SALVADOR DE MADARIAGA, 1            PHONE: 34-915-820-100
          ATTN: LEGAL DEPARTMENT              SARA.PUYOL@AMADEUS.CO
          MADRID 28027 ES                     M




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
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  Debtor: Advantage Holdco, Inc., et al.                                                       Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  8     C3/CUSTOMERCONTACTCHANNELS,        CONTACT: VULONIA            TRADE DEBT                                                                           $690,379.00
        INC.                               JOUISSANCE
        3400 LAKESIDE DRIVE                PHONE: 954-577-7738
        MIRAMAR, FL 33027                  VULONIA.JOUISSANCE@C3C
                                           ONNECT.COM
  9     TRAVELPORT, LP                     CONTACT: STEVE MATISE   TRADE DEBT                                                                               $639,245.00
        300 GALLERIA PKWY 400              PHONE: 800-537-3118
        ATTN: STEVE MATISE                 STEVE.MATISE@TRAVELPORT
        ATLANTA, GA 30339                  .COM
  10    SAFELITE FULFILLMENT, INC          CONTACT: ANTHONY       TRADE DEBT                                                                                $520,176.00
        P.O. BOX 633197                    HUNTER
        CINCINNATI, OH 45263-3197          PHONE: 614-210-9813
                                           ANTHONY.HUNTER@SAFELIT
                                           E.COM
  11    HERTZ                              CONTACT: ERIN HELFERT       FUEL                                                                                 $456,477.00
        8501 WILLIAMS RD                   PHONE: 239-301-7245
        ATTN: REAL ESTATE                  EHELFERT@HERTZ.COM
        ESTERO, FL 33928
  12    PEP BOYS                           CONTACT: SUSAN GARDNER TRADE DEBT                                                                                $411,642.00
        P.O. BOX 8500-50446,               PHONE: 303-946-8779
        REMITTANCE DEPT.,                  SUSAN_GARDNER@PEPBOYS
        PHILADELPHIA, PA 19178-0446        .COM
  13    UNITED RENTAL GROUP LLC            CONTACT: ANDY WILSON        LEASE                                                                                $407,978.00
        1300 CONCORD TERRACE               PHONE: 954-368-7225
        SUITE 120                          ANDY@UNITEDMILEFLEET.C
        SUNRISE, FL 33323                  OM
  14    TSD RENTAL LLC                     CONTACT: SHAWN          TRADE DEBT                                                                               $401,949.00
        1620 TURNPIKE ST                   CONCANNON
        NORTH ANDOVER, MA 01845            PHONE: 978-794-1400 X.3
                                           SCONCANNON@TSDWEB.CO
                                           M
  15    SABRE GLBL, INC                    CONTACT: BERNARD LAFOND TRADE DEBT                                                                               $375,945.00
        3150 SABRE DRIVE                   PHONE: 1-866-464-6125
        CC: MANAGING DIRECTOR, TRAVEL      X.3565
        SUPPLIER DISTRIBUTION              BERNARD.LAFOND@SABRE.C
        ATTN: GENERAL COUNSEL              OM
        SOUTHLAKE, TX 76092-2129
  16    FLEET SERVICES HAWAII              CONTACT: JOLYN VICTORINO TRADE DEBT                                                                              $299,202.00
        875 ALA LILIKOI ST, APT 5          PHONE: 808-762-9671
        HONOLULU, HI 96818                 INVOICE@FLEETSERVICESHA
                                           WAII.COM


  17    EDS FACILITIES SERVICES, LMTD      CONTACT: JOSEAN GARCIA    PROFESSIONAL                                                                           $296,748.00
        400 GALLERIA PARKWAY STE 1820      PHONE: 404-445-8399 X8106 SERVICES
        ATLANTA, GA 30339                  SSMITH@EDSSERVICESOLUTI
                                           ONS.COM


  18    EXULTANCY, INC.                    CONTACT: MAKARAND    TRADE DEBT                                                                                  $261,720.00
        5 INDEPENDENCE WAY STE 300         DIWAN
        PRINCETON, NJ 08540                PHONE: 609-514-5111
                                           MDIWAN@EXULTANCY.COM




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  Debtor: Advantage Holdco, Inc., et al.                                                       Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  19    K.P. PROPERTIES                    CONTACT: M KOPER            RENT                                                                                 $246,881.00
        626 ISIS AVE.                      PHONE: 310-670-0026
        ENGLEWOOD, CA 90301                MKOPER886@GMAIL.COM
  20    PERSUADE LOYALTY LLC               CONTACT: JOHN TSCHIDA       TRADE DEBT                                                                           $229,556.00
        222 N 2ND ST STE 200               PHONE: 612-419-8463
        MINNEAPOLIS, MN 55401              JTSCHIDA@PERSUADELOYAL
                                           TY.COM
  21    LEVEL 3 COMMUNICATIONS LLC         CONTACT: SARAH COOPER  TRADE DEBT                                                                                $228,449.00
        1025 ELDORADO BLVD                 PHONE: 918-547-0478
        BROOMFIELD, CO 80021               SARAH.COOPER@CENTURYLI
                                           NK.COM
  22    FAREPORTAL INC                     CONTACT: TOM SPAGNOLA  TRADE DEBT                                                                                $219,435.00
        135 W 50TH ST STE 501              PHONE: 818-943-9594
        NEW YORK, NY 10020                 TSPAGNOLA@FAREPORTAL.C
                                           OM
  23    RPM FREIGHT SYSTEMS                CONTACT: BRANDON            TRADE DEBT                                                                           $211,613.00
        301 W. FOURTH, STE 200,            GRITTINI
        ROYAL OAK, MI 48067                PHONE: 248-206-1016
                                           BGRITTINI@LOADRPM.COM
  24    CITY OF PHOENIX                    CONTACT: NICOLE             TRADE DEBT                                                                           $197,313.00
        AVIATION DEPARTMENT                HERNANDEZ
        P.O. BOX 29110                     PHONE: 602-273-3365
        PHOENIX, AZ 85038-9110             NICOLE.HERNANDEZ@PHOE
                                           NIX.GOV
  25    QU AGILE SOLUTIONS PVT, LTD.       CONTACT: SIVA KUMAR    TRADE DEBT                                                                                $182,156.00
        51 OLD MAHABALIPURAM ROAD          PHONE: 94-44-66255514
        SHOLINGAMLLUR                      SIVAKUMAR.R@QUAGILESOL
        CHENNAI, HENNAI                    UTION.COM
        INDIA
  26    CARTRAWLER                         CONTACT: CIARAN       TRADE DEBT                                                                                 $171,153.00
        CLASSON HOUSE                      O’DONNELL
        DUNDRUM BUSINESS PARK              PHONE: 353 1 4999659
        DUNDRUM, DUBLIN 14                 CODONNELL@CARTRAWLER.
        IRELAND                            COM
  27    SOUTHWEST.COM                      CONTACT: DENISE HIGDON      TRADE DEBT                                                                           $169,654.00
        P.O. BOX 97397                     PHONE: 214-792-4030
        ATTN: REVENUE ACCOUNTING           DENISE.HIGDON@WNCO.CO
        DALLAS, TX 75397                   M
  28    ARTHUR J GALLEGHER                 CONTACT: MICHEL        INSURANCE                                                                                 $163,318.00
        39683 TREASURY CENTER              MARTINEZ
        CHICAGO, IL 60694                  PHONE: 713-358-5749
                                           MICHEL_MARTINEZ@AJG.CO
                                           M
  29    AUTO EUROPE                        CONTACT: BRIAN LITTLE  TRADE DEBT                                                                                $145,755.00
        39 COMMERCIAL ST.                  PHONE: 207-842-2201
        PORTLAND, ME 04101                 BLITTLE@AUTOEUROPE.COM


  30    SECURE PARKING USA, LLC            CONTACT: RYAN HAWKEN  RENT                                                                                       $142,585.00
        626 E. WISCONSIN AVE.              PHONE: 414-847-5723
        STE. 1410                          RHAWKEN@SECUREPARKING
        MILWAUKEE, WI 53202                USA.COM




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